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                       UNITED STATES BANKRUPTCY COURT
                                District of Delaware
                            824 Market Street, 3rd Floor
                               Wilmington, DE 19801
In Re:                                                                          Case No.: 20−10036−CSS
Tough Mudder Incorporated
                                                                                Chapter: 11

                                                Notice of Deficiency

   The document(s) you submitted to the Court was received on 2/21/20 and has been docketed at Docket # 66 .
   However, if your intention is for this document to be docketed as a Proof of Claim (or Amended Proof of Claim),
   it must be submitted using Official Form B410. Official forms can be found on our website at
   www.uscourts.gov/forms/bankruptcy−forms/proof−claim. A proof of claim may be filed either electronically or
   as a paper document. For information on how to file a claim, visit the United States Bankruptcy Court − District
   of Delaware website at www.deb.uscourts.gov. When resubmitting your claim, please either include this Notice
   or ensure that you make reference to the docket number initially assigned to your filing.
   The document(s) you submitted to the Court was received on and has been docketed at Docket # . However, the
   case is currently closed. If you desire to reopen the case, a Motion to Reopen must be filed along with the
   appropriate filing fee.
   The document(s) you submitted to the Court was received on and has been docketed at Docket # . However, it is
   not in compliance with our Local Rules.
   The bankruptcy petition you filed was received on . It was docketed and assigned Case # . At the time of the
   filing, the applicable photo identification requirement was not satisifed. The debtor(s) named in the petition must
   either present in person a current, valid form of photo identification or file a legible copy by mail within the next
   fourteen (14) days. The form titled Pro Se Filer Acknowledgement of Photo ID Requirement can be found on the
   Court's website at http://www.deb.uscourts.gov/filing−without−attorney
   A bankruptcy petition, affirmed to be authorized to be filed on your behalf, was received on . It was docketed
   and assigned Case # . At the time of filing, the applicable photo identifcation requirement was not satisfied. The
   debtor(s) named in the petition must either present in person a current, valid form of photo identification or file a
   legible copy by mail within the next fourteen (14) days. The form titled Pro Se Filer Acknowledgement of Photo
   ID Requirement can be found on the Court's website at http://www.deb.uscourts.gov/filing−without−attorney

   The document(s) you filed with the Court at Docket # is not in compliance with Local Rule 9018−1(d).

   Other:

   Local Rules and Official Forms can be found on the Court's website at www.deb.uscourts.gov

   __________________________________________________________________________________________

   I certify that this Notice of Deficiency was mailed on the date indicated below to:
   Classic Tents & Events
   6380 Best Friend Road
   Norcross, GA 30071




                                                                    Una O'Boyle, Clerk of Court
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Date: 2/21/20                                By: Leslie Murin, Deputy Clerk




(VAN−489)
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                                               United States Bankruptcy Court
                                                   District of Delaware
In re:                                                                                                     Case No. 20-10036-CSS
Tough Mudder Incorporated                                                                                  Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0311-1                  User: LeslieM                      Page 1 of 2                          Date Rcvd: Feb 21, 2020
                                      Form ID: van489                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 23, 2020.
cr             +Classic Tents & Events,   6380 best friend road,   norcross, GA 30071-2911

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 23, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 21, 2020 at the address(es) listed below:
              Adam Hiller     on behalf of Interested Party    Old Bridge Township Raceway Park, Inc.
               ahiller@adamhillerlaw.com
              Adrienne K. Walker    on behalf of Interested Party    Spartan Race, Inc. awalker@mintz.com
              Allen G. Kadish    on behalf of Creditor    Valley Builders LLC akadish@archerlaw.com,
               chansen@archerlaw.com
              Allen G. Kadish    on behalf of Creditor    David Watkins Homes Inc. akadish@archerlaw.com,
               chansen@archerlaw.com
              Allen G. Kadish    on behalf of Creditor    Trademarc Associates Inc. akadish@archerlaw.com,
               chansen@archerlaw.com
              Anthony F. Giuliano    on behalf of Creditor    Computero Inc. afg@pryormandelup.com
              Brett Shea Turlington    on behalf of Interested Party    Tough Mudder Event Production
               Incorporated bturlington@mnat.com, greimann@mnat.com;emalafronti@mnat.com;mleyh@mnat.com
              Brett Shea Turlington    on behalf of Trustee Derek C. Abbott bturlington@mnat.com,
               greimann@mnat.com;emalafronti@mnat.com;mleyh@mnat.com
              Brett Shea Turlington    on behalf of Debtor    Tough Mudder Event Production Incorporated
               bturlington@mnat.com, greimann@mnat.com;emalafronti@mnat.com;mleyh@mnat.com
              Chase Nathaniel Miller    on behalf of Creditor    XACT Acquisition, LLC dba XACT TeleSolutions, a
               Delaware Corporation ecfaccount@orlans.com;ANHSOrlans@InfoEX.com
              Christopher Dean Loizides    on behalf of Interested Party    Spartan Race, Inc.
               loizides@loizides.com
              David W. Carickhoff    on behalf of Creditor    David Watkins Homes Inc. dcarickhoff@archerlaw.com
              David W. Carickhoff    on behalf of Creditor    Valley Builders LLC dcarickhoff@archerlaw.com
              David W. Carickhoff    on behalf of Creditor    Trademarc Associates Inc. dcarickhoff@archerlaw.com
              Derek C. Abbott    on behalf of Debtor   Tough Mudder Incorporated dabbott@mnat.com,
               greimann@mnat.com;emalafronti@mnat.com;mleyh@mnat.com
              Derek C. Abbott    dabbott@mnat.com, greimann@mnat.com;emalafronti@mnat.com;mleyh@mnat.com
              Elihu Ezekiel Allinson, III    on behalf of Creditor    Event Medic NY, Inc. ZAllinson@SHA-LLC.com,
               ecf@williamdsullivanllc.com;hcoleman@sha-llc.com
              Jane M. Leamy    on behalf of U.S. Trustee    U.S. Trustee jane.m.leamy@usdoj.gov
              Joseph Charles Barsalona II    on behalf of Trustee Derek C. Abbott jbarsalona@mnat.com,
               greimann@mnat.com;emalafronti@mnat.com;mleyh@mnat.com;joseph--barsalona-5332@ecf.pacerpro.com
              Joseph Charles Barsalona II    on behalf of Interested Party    Tough Mudder Event Production
               Incorporated jbarsalona@mnat.com,
               greimann@mnat.com;emalafronti@mnat.com;mleyh@mnat.com;joseph--barsalona-5332@ecf.pacerpro.com
              Joseph J. McMahon, Jr.    on behalf of Creditor    Storm Events, LLC. jmcmahon@ciardilaw.com
              Kathleen M. Miller    on behalf of Creditor    Active Network LLC kmiller@skjlaw.com,
               llb@skjlaw.com
              Kevin F. Shaw    on behalf of Creditor   Trademarc Associates Inc. kshaw@archerlaw.com
              Kevin F. Shaw    on behalf of Creditor   David Watkins Homes Inc. kshaw@archerlaw.com
              Kevin F. Shaw    on behalf of Creditor   Valley Builders LLC kshaw@archerlaw.com
              Margaret M. Manning    on behalf of Creditor    Navy Federal Credit Union
               delawarebankruptcy@albalawgroup.com
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                              Form ID: van489             Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Matthew B. Harvey   on behalf of Trustee Derek C. Abbott mharvey@mnat.com,
               greimann@mnat.com;emalafronti@mnat.com;mleyh@mnat.com;mleyh@mnat.com;matt-harvey-8145@ecf.pacerpr
               o.com
              Sheryl L. Moreau   on behalf of Creditor   Missouri Department of Revenue deecf@dor.mo.gov
              U.S. Trustee   USTPRegion03.WL.ECF@USDOJ.GOV
                                                                                            TOTAL: 29
